 Case: 4:10-cr-00510-HEA        Doc. #: 345 Filed: 11/28/11         Page: 1 of 1 PageID #:
                                          1262



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR510 HEA
                                                )
ARTHUR DUKES,                                   )
                                                )
       Defendant.                               )

                                          ORDER

       IT IS HEREBY ORDERED that the sentencing hearing previously set in this matter for

Monday, November 28, 2011, is reset to Thursday, December 1, 2011, at 11:15 a.m. in the

courtroom of the undersigned.

       Dated this 28th day of November, 2011.




                                           ________________________________
                                              HENRY EDWARD AUTREY
                                            UNITED STATES DISTRICT JUDGE
